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  Attorney for Plaintiffs


                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,      )   Case No.: 1:19-cv-00168-LEK-KJM
                                               )   (Copyright)
                         Plaintiffs,           )
           vs.                                 )   RULE 55(a) REQUEST FOR CLERK
                                               )   TO ENTER DEFAULT AGAINST
   Qazi Muhammad Zarlish, et al.               )   DEFENDANTS QAZI
                                               )   MUHAMMAD ZARLISH AND
                         Defendants.           )   NGHI PHAN NHAT;
                                               )   DECLARATION OF COUNSEL;
                                               )   PROPOSED ENTRIES OF
                                               )   DEFAULT; CERTIFICATE OF
                                               )   SERVICE
                                               )

     REQUEST FOR CLERK TO ENTER DEFAULT AGAINST DEFENDANTS
          QAZI MUHAMMAD ZARLISH AND NGHI PHAN NHAT

  TO: CLERK OF THE ABOVE-ENTITLED COURT:

             Pursuant to Fed R. Civ. P. 55(a), Plaintiffs Hunter Killer Productions, Inc.,

  TBV Productions, LLC, Venice PI, LLC, Bodyguard Productions, Inc. and LHF

  Productions, Inc., (“Plaintiffs”) hereby apply for entry of default by the Clerk of the


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  Court against Defendants QAZI MUHAMMAD ZARLISH and NGHI PHAN

  NHAT.

           Defendant QAZI MUHAMMAD ZARLISH executed a Waiver of Service

  acknowledging receipt of the Summons and Complaint in Pakistan and that his

  responsive pleading was due 90 days from April 4, 2019. [Doc. #12]. Accordingly,

  Defendant QAZI MUHAMMAD ZARLISH’s responsive pleading was due on July

  3, 2019. Defendant QAZI MUHAMMAD ZARLISH has failed to appear or

  otherwise defend.

           Pursuant to the Order Granting Plaintiffs’ Second Ex Parte Motion for Order

  Permitting Clerk to perform foreign mailing [Doc. #17], Defendant NGHI PHAN

  NHAT was served by delivering a copy of the Summons, Scheduling Order,

  Complaint and a Vietnamese Machine Translation thereof by FedEx on June 5, 2019.

  See Decl. of Stephanie Kessner [Doc. #20] at ¶3. Accordingly, Defendant NGHI

  PHAN NHAT’s responsive pleading was due on June 26, 2019. Defendant NGHI

  PHAN NHAT has failed to appear or otherwise defend.

           For these reasons, Plaintiffs request that the Clerk of the Court enter default

  judgment on all claims plead in the Complaint with regards to Defendants QAZI

  MUHAMMAD ZARLISH and NGHI PHAN NHAT. Plaintiffs will separately file

  a request under Rule 55(b) for the court to (1) effectuate judgment; (2) determine the

  amount of damages; (3) establish the truth of any allegation by evidence; or (4)

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  investigate any other matter.

           DATED: Kailua-Kona, Hawaii, July 8, 2019.


                                  CULPEPPER IP, LLLC

                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs




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